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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-20242-CR-ALTONAGA/TORRES

   UNITED STATES OF AMERICA

   vs.

   MARK SCOTT GRENON,
   JONATHAN DAVID GRENON,
   JORDAN PAUL GRENON, and
   JOSEPH TIMOTHY GRENON,

               Defendants.
   ________________________________/

                           COURT’S INSTRUCTIONS TO THE JURY

   Members of the Jury:

          It’s my duty to instruct you on the rules of law that you must use in deciding this case.

   After I’ve completed these instructions, you will go to the jury room and begin your discussions –

   what we call your deliberations.

          You must decide whether the Government has proved the specific facts necessary to find

   the Defendant guilty beyond a reasonable doubt.
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                                                   B2.2

           The Duty to Follow Instructions and the Presumption of Innocence When a
                                  Defendant Does Not Testify

          Your decision must be based only on the evidence presented during the trial. You must not

   be influenced in any way by either sympathy for or prejudice against the Defendant or the

   Government.

          You must follow the law as I explain it – even if you do not agree with the law – and you

   must follow all of my instructions as a whole. You must not single out or disregard any of the

   Court's instructions on the law.

          The indictment isn’t evidence of guilt. The law presumes every Defendant is innocent. The

   Defendant does not have to prove his or her innocence or produce any evidence at all. A Defendant

   does not have to testify, and if the Defendant chose not to testify, you cannot consider that in any

   way while making your decision. The Government must prove guilt beyond a reasonable doubt. If

   it fails to do so, you must find the Defendant not guilty.
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                                            Pro Se Defendant

          The Defendants have decided to represent themselves in this trial and not to use the services

   of a lawyer. They have a constitutional right to do that. Their decision has no bearing on whether

   they are guilty or not guilty, and it must not affect your consideration of the case.

          Because each Defendant has decided to act as his own lawyer, you may hear a Defendant

   speak at various times during the trial. They may make an opening statement and closing argument

   and may ask questions of witnesses, make objections, and argue legal issues to the court. I want to

   remind you that when a Defendant speaks in these parts of the trial, he is acting as a lawyer in the

   case, and his words are not evidence. The only evidence in this case comes from witnesses who

   testify under oath on the witness stand and from exhibits that are admitted.

   SOURCE:

   Ninth Circuit, Manual Model of Criminal Jury Instructions (2010), Instruction 1.15; Eighth
   Circuit, Criminal Jury Instructions § 2.23. The first paragraph above, based upon these sources,
   was given recently in United States v. Longsworth, Case 1:23-cr-20017-RAR (ECF49). We ask
   that the Court give this instruction at the start of trial and/or in its final instructions. If standby
   counsel participates, additional language may be appropriate.
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                                                  B3
                                  Definition of “Reasonable Doubt”

          The Government's burden of proof is heavy, but it doesn’t have to prove a Defendant's guilt

   beyond all possible doubt. The Government's proof only has to exclude any “reasonable doubt”

   concerning the Defendant's guilt.

          A “reasonable doubt” is a real doubt, based on your reason and common sense after you’ve

   carefully and impartially considered all the evidence in the case.

          “Proof beyond a reasonable doubt” is proof so convincing that you would be willing to rely

   and act on it without hesitation in the most important of your own affairs. If you are convinced

   that the Defendant has been proved guilty beyond a reasonable doubt, say so. If you are not

   convinced, say so.
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                                           B4 (modified)
                       Consideration of Direct and Circumstantial Evidence;
                          Argument of Counsel; Comments by the Court

          As I said before, you must consider only the evidence that I have admitted in the case.

   Evidence includes the testimony of witnesses and the exhibits admitted. Anything the lawyers say

   is not evidence and isn’t binding on you. In addition, anything the Defendant may say that is not

   admitted by me as evidence is not binding on you.

          You shouldn’t assume from anything I’ve said that I have any opinion about any factual

   issue in this case. Except for my instructions to you on the law, you should disregard anything I

   may have said during the trial in arriving at your own decision about the facts.

          Your own recollection and interpretation of the evidence is what matters.

          In considering the evidence you may use reasoning and common sense to make deductions

   and reach conclusions. You shouldn’t be concerned about whether the evidence is direct or

   circumstantial.

          “Direct evidence” is the testimony of a person who asserts that he or she has actual

   knowledge of a fact, such as an eyewitness.

          “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to prove

   or disprove a fact. There’s no legal difference in the weight you may give to either direct or

   circumstantial evidence.
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                                                  B5
                                       Credibility of Witnesses

          When I say you must consider all the evidence, I don’t mean that you must accept all the

   evidence as true or accurate. You should decide whether you believe what each witness had to say,

   and how important that testimony was. In making that decision you may believe or disbelieve any

   witness, in whole or in part. The number of witnesses testifying concerning a particular point

   doesn’t necessarily matter.

          To decide whether you believe any witness I suggest that you ask yourself a few questions:

          •   Did the witness impress you as one who was telling the truth?

          •   Did the witness have any particular reason not to tell the truth?

          •   Did the witness have a personal interest in the outcome of the case?

          •   Did the witness seem to have a good memory?

          •   Did the witness have the opportunity and ability to accurately observe the things he or
              she testified about?

          •   Did the witness appear to understand the questions clearly and answer them directly?

          •   Did the witness’s testimony differ from other testimony or other evidence?


   NOTE: If the defendants are allowed to testify and do testify without taking an oath, subject to
   FRE 603, the jury should be instructed to consider as well “Did the witness swear an oath to tell
   the truth?”
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                                                    B7
                                             Expert Witness
          When scientific, technical or other specialized knowledge might be helpful, a person who

   has special training or experience in that field is allowed to state an opinion about the matter.

          But that doesn’t mean you must accept the witness’s opinion. As with any other witness’s

   testimony, you must decide for yourself whether to rely upon the opinion.
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                                                 B8
                                 Introduction to Offense Instructions

          The indictment charges three separate crimes, called “counts.” Each count has a number.

   You’ll be given a copy of the indictment to refer to during your deliberations.

          In summary, Count One charges that the Defendants knowingly and willfully engaged in a

   conspiracy to defraud the United States, specifically the United States Food and Drug

   Administration (the “FDA”), and also to violate specific criminal laws of the United States.

          Counts Two and Three charge that Defendants Jonathan and Jordan Grenon committed

   contempt of court, which is a “substantive offense.” I will explain the law governing that

   substantive offense in a moment.

          But first note that the Defendants are not charged in Count 1 with committing a substantive

   offense – they are charged with conspiring to commit an offense. I will now give you specific

   instructions on conspiracy.
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                                 O13.1 & 13.6 (consolidated)
   Conspiracy to Defraud the United States and Commit an Offense Against the United States
                                       18 U.S.C. § 371

          It’s a separate Federal crime for anyone to conspire or agree with someone else to defraud

   the United States or one of its agencies such as the FDA, or to conspire or agree to do something

   that would be another Federal crime if it were actually carried out.

          A “conspiracy” is an agreement by two or more persons to commit an unlawful act. In other

   words, it is a kind of partnership for criminal purposes. Every member of the conspiracy becomes

   the agent or partner of every other member.

          The Government does not have to prove that all the people named in the indictment were

   members of the plan, or that those who were members made any kind of formal agreement.

          The Government does not have to prove that the members planned together all the details

   of the plan or the “overt acts” that the indictment charges would be carried out in an effort to

   commit the intended crime

          The heart of a conspiracy is the making of the unlawful plan itself followed by the

   commission of any overt act. The Government does not have to prove that the conspirators

   succeeded in carrying out the plan.

          The Defendant can be found guilty of this crime only if all the following facts are proved

   beyond a reasonable doubt:

          (1)     two or more persons in some way agreed to try to accomplish a shared and unlawful
                  plan;

          (2)     the Defendant knew the unlawful purpose of the plan and willfully joined in it;

          (3)     during the conspiracy, one of the conspirators knowingly engaged in at least one
                  overt act as described in the indictment; and

          (4)     the overt act was committed at or about the time alleged and with the purpose of
                  carrying out or accomplishing some object of the conspiracy.
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          An “overt act” is any transaction or event, even one that may be entirely innocent when

   viewed alone, that a conspirator commits to accomplish some object of the conspiracy.

          A person may be a conspirator without knowing all the details of the unlawful plan or the

   names and identities of all the other alleged conspirators.

          If the Defendant played only a minor part in the plan but had a general understanding of

   the unlawful purpose of the plan and willfully joined in the plan on at least one occasion, that’s

   sufficient for you to find the Defendant guilty.

          But simply being present at the scene of an event or merely associating with certain people

   and discussing common goals and interests doesn’t establish proof of a conspiracy. A person who

   doesn’t know about a conspiracy but happens to act in a way that advances some purpose of one

   doesn’t automatically become a conspirator.
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                                                O13.2
                                   Multiple Objects of a Conspiracy
                                             (modified)

          Count 1 charges that the Defendants conspired to defraud the United States, and also

   conspired to commit two substantive Federal crimes: distributing an unapproved new drug, and

   distributing a misbranded drug. In other words, the Defendants are charged with conspiring to do

   three things; these are called the “objects” of the conspiracy.

          The Government does not have to prove that the Defendant willfully conspired to commit

   all three objects of the conspiracy. In other words, the Government does not have to prove that

   the Defendant conspired to defraud the FDA and to commit the offense of distributing an

   unapproved new drug and to commit the offense of distributing a misbranded drug. It is sufficient

   if the Government proves beyond a reasonable doubt that the Defendant willfully conspired to

   commit one of those objects. But to find the Defendant guilty of Count 1, you must all agree about

   which object(s) the Defendant conspired to commit.
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                 Count One: Object of the Conspiracy #1: Functions of the FDA

           The first object of the criminal conspiracy charged in Count 1 is that the Defendants

   conspired to defraud the Unites States, specifically the FDA.

           To “defraud” the FDA, for purposes of this charge, means to interfere with any of the

   FDA’s lawful functions by deceit, craft, or trickery, even if the FDA does not suffer a loss of

   money or property.

           The FDA has broad authority to regulate drugs in the United States in order to protect the

   health and safety of consumers. This broad authority includes the lawful functions to: (a) regulate

   the interstate distribution of drugs and their components; (b) ensure that drugs are safe and

   effective for their intended uses; (c) prevent the unlawful sale and distribution of drugs not

   approved for sale and distribution in the United States; (d) ensure that drugs where required bear

   adequate directions for use; and (e) ensure that drugs are manufactured only in duly-registered

   facilities.

   SOURCE:

   O13.6 and United States v. Boccuzzi, 19-80030-Cr-WPB (ECF578) (defining “defraud” the United
   States) (cf. United States v. Ballistrea, 101 F.3d 827, 831-32 (2nd Cir. 1996) (stressing that it is
   unnecessary to prove a financial or property loss to the Government)); 21 U.S.C. §§ 321, 331, 342,
   343, 348, 350-355b, 374, 378, 379aa, 379aa-1, 393; 21 C.F.R. Parts 1-1499 (regarding FDA’s
   functions).
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     Count One: Object of the Conspiracy #2: Introducing an Unapproved New Drug into
                                   Interstate Commerce

          The second object of the criminal conspiracy charged in Count 1 is that the Defendants

   conspired to commit an offense against the United States; specifically, to violate the FDCA, which

   makes it a Federal crime for anyone to cause the introduction or delivery for introduction into

   interstate commerce of any unapproved new drug. The Government alleges that “Miracle Mineral

   Solution” was a “new drug,” as that term is defined later in these instructions, and that the FDA

   had not approved Miracle Mineral Solution for introduction or delivery for introduction into

   interstate commerce.

          A Defendant can be found guilty of this crime only if all of the following facts are proved

   beyond a reasonable doubt:

          (1) that the Defendant caused a new drug to be introduced or delivered for introduction
              into interstate commerce;

          (2) the new drug was, at the time, an unapproved new drug, as defined below; and

          (3) that the Defendant acted with intent to defraud or mislead.
          An article is a “drug” if it is intended for use in the diagnosis, cure, mitigation, treatment,

   or prevention of disease in humans, or if it is intended to affect the structure or any function of the

   human body. It is the intended use of a substance which determines whether it is a drug under the

   FDCA and not the nature or composition of the article, or whether and how the article actually

   affects the structure or any function of the human body.

          A product’s intended use is what a reasonable person would conclude the manufacturer or

   seller intended, based on all of the relevant information. You can determine the intended use of a

   product by considering the label, accompanying labeling, promotional material, advertising, oral
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   representations made about the product, the circumstances surrounding the distribution of the

   article, and information from any other source which discloses intended use.

          The term “new drug,” as pertinent here, means “any drug ... the composition of which is

   such that such drug is not generally recognized, by experts qualified by scientific training and

   experience to evaluate the safety and effectiveness of drugs, as safe and effective for use under the

   conditions prescribed, recommended, or suggested in the labeling thereof.” The Government does

   not have to show a product is new in the sense that it was recently made or, in fact, unsafe or

   ineffective, but simply that it was not generally recognized among qualified experts as having been

   adequately shown to be safe and effective when used in the manner prescribed, recommended, or

   suggested in its labeling.

          A “general recognition” of a drug’s safety and effectiveness must be based on three

   conditions. First, there must be substantial evidence of the drug’s effectiveness that would be

   sufficient to obtain FDA’s approval for the drug. “Substantial evidence” is evidence consisting of

   “adequate and well-controlled investigations,” including clinical investigations, upon which

   qualified experts can fairly and reasonably conclude that it will have the effect it is represented to

   have, such as to cure a disease.

          Second, the “adequate and well-controlled investigations” must be published in the

   scientific literature so that they are made generally available to the community of qualified experts

   and are, thereby, subject to peer evaluation, criticism, and review. The published investigations

   must be of the safety and efficacy of the complete drug, as opposed just to some of the ingredients

   in the drug. The absence of literature establishing the safety and effectiveness of the drug is proof

   that the requisite general recognition does not exist. Anecdotal and testimonial evidence from

   doctors or patients regarding the safety and effectiveness of a new drug is not sufficient to meet
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   the standards of the FDCA with respect to establishing the drug’s safety and effectiveness. In

   addition, general recognition of safety and effectiveness cannot be based on clinical impressions

   of practicing physicians or patients, poorly controlled experiments, isolated case reports, random

   experience, or reports lacking the details which permit scientific evaluation.

          Third, there must be a consensus among qualified experts, based on adequate and well-

   controlled published investigations of the drug, that the drug is safe and effective for each of its

   labeled indications. If you find that any one of these three conditions fails to exist for the drug,

   then the drug was not generally recognized as safe and effective and, therefore, was a “new drug.”

          An “unapproved new drug” is a drug for which FDA has not approved a New Drug

   Application, Abbreviated New Drug Application, or Investigational New Drug Application.

          “Interstate commerce” means commerce between any State and any place outside thereof.

          To act with “intent to defraud” means to act with the specific intent to deceive or cheat.

   The Government does not have to prove that anyone was in fact defrauded.

          To act with “intent to mislead” means to act with the specific intent to create a false

   impression by misstating, omitting or concealing facts. It is not necessary, however, to prove that

   anyone was, in fact, misled.

          A Defendant can act with intent to defraud or to mislead either (1) the consumers of the

   Defendant’s products or (2) the Government.

          To act with the intent to defraud or mislead the consumers of a product means to act with

   the specific intent to defraud or mislead either the direct purchaser of the product, or subsequent

   purchasers or users, about the nature of the product being used or purchased or some significant

   fact or aspect of the product being used or purchased.
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          To act with the intent to defraud or mislead the Government means to act with the specific

   intent to interfere with or obstruct a lawful government function by deceit, craft or trickery, or at

   least by means that are dishonest.

          I have instructed you about the elements of this substantive offense so that you can

   understand what the Defendants allegedly conspired to do. Let me remind you that in Count 1 the

   Defendants are not charged with committing the substantive offense of distributing an unapproved

   new drug. Rather, they are charged with agreeing or conspiring to do so.

   SOURCE:

   United States v. Vanmoor, 06-60064-Cr-JAG (ECF67) (edited for case; “intent to defraud” and
   “intent to mislead” definitions modified to confirm to language currently used in multiple Eleventh
   Circuit pattern instructions, e.g., O14, O40.2); Boccuzzi, supra. See generally 21 U.S.C. §§ 321,
   331, 355; 21 C.F.R. 314.126, 201.5,201.128.
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           Count One: Object of the Conspiracy #3: Distributing a Misbranded Drug

          The third object of the criminal conspiracy charged in Count One is that the Defendants

   conspired to commit another offense, specifically, to violate another provision of the FDCA which

   makes it a federal crime for anyone to cause the introduction or delivery for introduction into

   interstate commerce of a misbranded drug. I will instruct you momentarily on two ways in which

   a drug may be misbranded within the meaning of Title 21, United States Code, Section 352.

          A Defendant can be found guilty of this crime only if all of the following facts are proved

   beyond a reasonable doubt:

          (1) That the Defendant caused a drug to be introduced or delivered for introduction into
              interstate commerce;

          (2) That the drug was misbranded; and

          (3) That the Defendant acted with the intent to defraud or mislead.

          I have already defined the term “drug” and instructed you about the meaning of “interstate

   commerce” and “to act with the intent to defraud or mislead.”

          A product may be “misbranded,” as relevant here, in either of two ways.

          One, a drug is misbranded if its labeling lacks adequate directions for use. “Adequate

   directions for use” means directions sufficient to enable a lay person to use a drug safely and for

   the purposes for which it is intended.

          A second way that a drug can be misbranded is if it was manufactured, prepared,

   propagated, compounded, or processed in an establishment not duly registered under the FDCA.

   The FDCA requires that, during the period beginning on October 1 and ending on December 31

   of each year, every person who owns or operates any establishment in any State engaged in the

   manufacture, preparation, propagation, compounding, or processing of a drug or drugs shall

   register with the Secretary the name of such person, places of business of such person, all such
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   establishments, the unique facility identifier of each such establishment, and a point of contact e-

   mail address.

          Let me remind you again that in Count 1 the Defendants are not charged with committing

   the substantive offense of distributing a misbranded drug. Rather, they are charged with agreeing

   or conspiring to do so. I have instructed you about the elements of this substantive offense so that

   you can understand what Defendants allegedly conspired to do.

   SOURCE:

   On “adequate directions for use,” see 21 U.S.C. §§ 331(a); 333(a)(2); 352(f)(1); 21 CFR 201.5
   and 201.128. See also United States v. Genesis II Church of Health & Healing, 476 F. Supp. 3d
   1283, 1292 -93 (S.D. Fla. 2020) (Williams, J.) (“A drug is ‘misbranded’ under 21 U.S.C. §
   352(f)(1) if its labeling fails to bear “adequate directions for use” and is not exempt from this
   requirement. ‘[A]dequate directions for use’ are those ‘under which the layman can use a drug
   safely and for the purposes for which it is intended.’ 21 C.F.R. § 201.5. ”). The Government may
   seek additional language regarding prescription drugs, which cannot, by definition, have adequate
   directions for use, see, e.g. 21 U.S.C. § 353(b)(1)(A); 21 C.F.R. §§ 201.5; 201.115; 201.100(c)(2);
   Genesis II Church of Health & Healing, 476 F. Supp. 3d at 1293; United States v. Patwardhan,
   422 F. App’x 614, 616 (9th Cir. 2011); United States v. Evers, 643 F.2d 1043, 1051 (5th Cir. 1981)
   (accepting the FDA’s assertion that “since a prescription drug by definition can be used only under
   a physician’s supervision ... it is impossible to provide ‘adequate directions for use’ to a layman”)
   (citing United States v. Articles of Drug, 625 F.2d 665, 673–75 (5th Cir. 1980))).
   On unregistered establishments, see 21 U.S.C. §§ 352(o), 360(b).
   Additional language may be appropriate if the defendants assert that they were in one of the
   categories in which a drug may be exempt from the “adequate directions for use” requirement, or
   exempt from the registration requirement.
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                                    Counts Two and Three: Contempt

             It’s a Federal crime for anyone to willfully disobey or resist any order of any court of the

   United States. The Defendant can be found guilty of this crime only if all the following facts are

   proved beyond a reasonable doubt:

             (1) A court of the United States entered an order of reasonable specificity;

             (2) the Defendant violated the order; and

             (3) the violation was willful.

             The United States District Court for the Southern District of Florida is a court of the United

   States.

             A willful violation is a deliberate or intended violation, as distinguished from an accidental,

   inadvertent, or negligent violation of an order.

             If the Government proves the elements I just described, it is not a defense that the

   Defendant believed in good faith that the order was unlawful, or that the order was in fact unlawful

   in some way.


   SOURCE:

   18 U.S.C. §401(c); United States v. Burstyn, 878 F.2d 1322, 1324 (11th Cir. 1989); United States
   v. Hendrickson, 822 F.3d 812, 821 (6th Cir. 2016) (collecting cases and explaining that the
   collateral bar rule prohibits a defendant from defeating a criminal contempt charge by claiming
   that the order was unlawful; also affirming district court’s instruction to that effect because
   “[w]hile acting under an honest, although incorrect, misunderstanding of a court order is a defense
   to criminal contempt, the fact that a person believes in good faith that the court order is unlawful
   is not” (citations and internal punctuation omitted)).
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                                         B9.1A (modified)
                           On or About; Knowingly; Willfully – Generally

          You’ll see that the indictment charges that a crime was committed “on or about” a certain

   date. The Government doesn’t have to prove that the crime occurred on an exact date. The

   Government only has to prove beyond a reasonable doubt that the crime was committed on a date

   reasonably close to the date alleged.

          The word “knowingly” means that an act was done voluntarily and intentionally and not

   because of a mistake or by accident.

          I have given you a specific instruction about the word “willfully” in reference to the

   contempt charges in Counts 2 and 3, and you should follow that instruction on deciding those

   counts. As used elsewhere in these instructions, the word “willfully” means that the act was

   committed voluntarily and purposely, with the intent to do something the law forbids; that is, with

   the bad purpose to disobey or disregard the law. While a person must have acted with the intent to

   do something the law forbids before you can find that the person acted “willfully,” the person need

   not be aware of the specific law or rule that his conduct may be violating.
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                                   Persons or Charges Not on Trial

          You may not draw any inference, favorable or unfavorable, toward the Government or

   the Defendant on trial from the fact that any person in addition to the Defendants is not on trial

   here. You may also not speculate as to the reasons why other persons are not on trial. Neither

   may you speculate as to the reasons why certain Defendants are charged in some counts of the

   Indictment but not others. Those matters are wholly outside your concern and have no bearing

   on your function as jurors.


   SOURCE:

   Modified from similar instructions in multiple SDFL cases including United States v. Belfast, No.
   06-20758-CR-Altonaga (DE580:3), aff’d, 611 F.3d 783 (11th Cir 2010) and United States v.
   Esformes, 16-20549-Cr-Scola, aff’d, 60 F.4th 621 (11th Cir. 2023).
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                                     No Defense of “Justification”

          The government must prove each of the elements of a charged offense beyond a reasonable

   doubt, including those elements relating to the Defendant’s state of mind. But, if you find that the

   Defendant had the state of mind necessary to commit the crimes charged in the indictment, then it

   is not a defense that the Defendant believed that violating the law was religiously, politically, or

   morally required, or that ultimate good would result.


   SOURCE:
   Similar no-justification instructions based upon this language have been given in multiple SDFL
   cases later affirmed by the 11th Circuit including United States v. Khan, 11-20331-Cr-Scola
   (DE747:16), United States v. Batiste, 06-20773-Cr-Lenard (DE1307:29); and United States v.
   Padilla et al., 04-60001-Cr-Cooke (DE1189). See also Belfast, supra (Altonaga, J.)
   (“[P]raiseworthy motives [] may prompt one person to voluntary acts of good while prompting
   another person to voluntary acts of crime. Good motive alone is never a defense where the act
   done or omitted is a crime. …). Adapted from Eleventh Circuit Pattern Jury Instructions, Criminal,
   Special Instruction 9 (addressing a good faith defense to willfulness, but additionally including the
   following language: “Intent and motive must not be confused. ‘Motive’ is what prompts a person
   to act. It is why the person acts. ‘Intent’ refers to the state of mind with which the act is done. If
   you find beyond a reasonable doubt that the Defendant specifically intended to do something that
   is against the law and voluntarily committed the acts that make up the crime, then the element of
   ‘willfulness’ is satisfied, even if the Defendant believed that violating the law was [religiously,
   politically, or morally] required or that ultimate good would result.” (brackets in original)).
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                            First Amendment/Permissible Use of Evidence

             The First Amendment to the United States Constitution establishes certain rights which

   benefit everyone. The First Amendment provides, in part, that Congress shall make no law

   respecting an establishment of religion or prohibiting the free exercise thereof or abridging the

   freedom of speech. A person is free to believe any religion, or no religion, and express any point

   of view. But the First Amendment does not protect the kind of criminal activity charged in this

   case.


             So, having instructed you concerning rights of each defendant pursuant to the First

   Amendment, I also instruct you that the First Amendment is not a defense to the crimes charged

   in this indictment. If the Government proves all of the elements of those crimes beyond a

   reasonable doubt, you must return a verdict of guilty, regardless of whether the defendant’s

   conduct had some connection to religious activity or to a claim of free speech. I instruct you as

   well that, in deciding whether the Government has met its burden, you may consider the

   defendants’ statements admitted as evidence during the trial, and give them whatever weight you

   decide.


   SOURCE:

           Adapted from instruction approved in United States v. Hassan, 742 F.3d 104, 127 (4th Cir.
   2014) (reading in full: “I turn your attention now to the First Amendment to the United States
   Constitution, which establishes certain rights which accrue to each defendant. The First
   Amendment provides, in part, that Congress shall make no law respecting an establishment of
   religion or prohibiting the free exercise thereof or abridging the freedom of speech or of the press
   or the right of the people to be peaceably assembled. The right of freedom of speech and to engage
   in peaceful assembly extends to one’s religion and one’s politics. Having instructed you
   concerning rights of each defendant pursuant to the First Amendment, I also instruct you that the
   First Amendment is not a defense to the crimes charged in the indictment.”). See generally United
   States v. Annamalai, 939 F.3d 1216, 122-25 (11th Cir. 2019) (explaining that while the “First
   Amendment prohibits a criminal charge of fraud from being based on ‘the truth or verity of [a
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   person’s] religious doctrines or beliefs,’ it ‘does not protect fraudulent activity performed in the
   name of religion’”) (quoting, inter alia, United States v. Rasheed, 663 F.2d 843, 847 (9th Cir.
   1981)); Emp. Div., Dep’t of Hum. Res. of Oregon v. Smith, 494 U.S. 872, 879-82 (1990) (Free
   Exercise Clause “does not relieve an individual of the obligation to comply with a valid and neutral
   law of general applicability on the ground that the law proscribes (or prescribes) conduct that his
   religion prescribes (or proscribes),” and rejecting idea that “when otherwise prohibitable conduct
   is accompanied by religious convictions, not only the convictions but the conduct itself must be
   free from governmental regulation”); Cantwell v. Connecticut, 310 U.S. 296, 303-06 (1940)
   (noting that the First Amendment “embraces two concepts—freedom to believe and freedom to
   act. The first is absolute but, in the nature of things, the second cannot be. Conduct remains subject
   to regulation for the protection of society … penal laws are available to punish [those who] under
   the cloak of religion, ... commit frauds upon the public”); United States v. Friday, 525 F.3d 938
   (10th Cir. 2008) (“Where an individual violates an otherwise valid criminal statute, the First
   Amendment does not act as a shield to preclude the prosecution of that individual simply because
   their criminal conduct has a connection to religious activity.”). On the use of defendants’
   statements, see, e.g., Hassan, 742 F.3d at 127 (describing as “entirely consistent with the First
   Amendment [making] evidentiary use of the appellants’ speech to establish the elements of their
   crimes or to prove motive or intent. … Indeed, because the essence of a conspiracy is an agreement
   to commit an unlawful act, the supporting evidence may necessarily include a defendant’s
   speech.” (internal citations and punctuation omitted)); United States v. Amawi, 695 F.3d 457, 482
   (6th Cir. 2012) (same); United States v. Hassoun, et al., 04-60001-Cr-Cooke (S.D. Fla. 2007),
   DE1189 (advising jury that while “[f]reedom of religion protects an individual’s … right to
   believe, profess, practice and preach whatever religious doctrine he ... may chose,” his statements
   may be considered as evidence of criminal activity including state of mind).
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                                               B10.4
                                        Caution: Punishment
                               (Multiple Defendants, Multiple Counts)

          Each count of the indictment charges a separate crime against one or more of the

   Defendants. You must consider each crime and the evidence relating to it separately. And you

   must consider the case of each Defendant separately and individually. If you find a Defendant

   guilty of one crime, that must not affect your verdict for any other crime or any other Defendant.

          I caution you that each Defendant is on trial only for the specific crimes charged in the

   superseding indictment. You’re here to determine from the evidence in this case whether each

   Defendant is guilty or not guilty of those specific crimes.

          You must never consider punishment in any way to decide whether a Defendant is guilty.

   If you find a Defendant guilty, the punishment is for the Judge alone to decide later.
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                                                   S5
                                               Note-taking

          You’ve been permitted to take notes during the trial. Most of you – perhaps all of you –

   have taken advantage of that opportunity.

          You must use your notes only as a memory aid during deliberations. You must not give

   your notes priority over your independent recollection of the evidence. And you must not allow

   yourself to be unduly influenced by the notes of other jurors.

          I emphasize that notes are not entitled to any greater weight than your memories or

   impressions about the testimony.
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                                                  B11
                                           Duty to Deliberate

          Your verdict, whether guilty or not guilty, must be unanimous – in other words, you must

   all agree. Your deliberations are secret, and you’ll never have to explain your verdict to anyone.

          Each of you must decide the case for yourself, but only after fully considering the evidence

   with the other jurors. So you must discuss the case with one another and try to reach an agreement.

   While you’re discussing the case, don’t hesitate to reexamine your own opinion and change your

   mind if you become convinced that you were wrong. But don’t give up your honest beliefs just

   because others think differently or because you simply want to get the case over with.

          Remember that, in a very real way, you’re judges – judges of the facts. Your only interest

   is to seek the truth from the evidence in the case.
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                                                 B12
                                                Verdict

          When you get to the jury room, choose one of your members to act as foreperson. The

   foreperson will direct your deliberations and will speak for you in court.

          A verdict form has been prepared for your convenience.

          [Explain verdict form]

          Take the verdict form with you to the jury room. When you’ve all agreed on the verdict,

   your foreperson must fill in the form, sign it, date it, and carry it. Then you’ll return it to the

   courtroom.

          If you wish to communicate with me at any time, please write down your message or

   question and give it to the marshal. The marshal will bring it to me and I’ll respond as promptly

   as possible – either in writing or by talking to you in the courtroom. But I caution you not to tell

   me how many jurors have voted one way or the other at that time.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-20241-Cr-Altonaga/Torres

   UNITED STATES OF AMERICA

   vs.

   MARK SCOTT GRENON,
   JONATHAN DAVID GRENON,
   JORDAN PAUL GRENON, and
   JOSEPH TIMOTHY GRENON,

               Defendants.
   _________________________________/

                                              VERDICT


   WE THE JURY find unanimously as follows:

         For DEFENDANT MARK SCOTT GRENON:

         As to Count One of the Indictment:              ______ Guilty      ______ Not Guilty

                 If guilty, please identify whether the Government proved the following objects:

                 To defraud the United States and its agencies:

                                                         ______ Yes         ______ No

                 To commit the offense of distributing an unapproved new drug:

                                                         ______ Yes         ______ No

                 To commit the offense of distributing a misbranded drug:

                                                         ______ Yes         ______ No
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        For DEFENDANT JONATHAN DAVID GRENON:

        As to Count One of the Indictment:              ______ Guilty      ______ Not Guilty

                If guilty, please identify whether the Government proved the following objects:

                To defraud the United States and its agencies:

                                                        ______ Yes         ______ No

                To commit the offense of distributing an unapproved new drug:

                                                        ______ Yes         ______ No

                To commit the offense of distributing a misbranded drug:

                                                        ______ Yes         ______ No

        As to Count Two of the Indictment:              ______ Guilty      ______ Not Guilty

        As to Count Three of the Indictment:            ______ Guilty      ______ Not Guilty




        For DEFENDANT JORDAN PAUL GRENON:

        As to Count One of the Indictment:              ______ Guilty      ______ Not Guilty

                If guilty, please identify whether the Government proved the following objects:

                To defraud the United States and its agencies:

                                                        ______ Yes         ______ No

                To commit the offense of distributing an unapproved new drug:

                                                        ______ Yes         ______ No
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                To commit the offense of distributing a misbranded drug:

                                                        ______ Yes         ______ No

        As to Count Two of the Indictment:              ______ Guilty      ______ Not Guilty

        As to Count Three of the Indictment:            ______ Guilty      ______ Not Guilty




        For DEFENDANT JOSEPH TIMOTHY GRENON:

        As to Count One of the Indictment:              ______ Guilty      ______ Not Guilty

                If guilty, please identify whether the Government proved the following objects:

                To defraud the United States and its agencies:

                                                        ______ Yes         ______ No

                To commit the offense of distributing an unapproved new drug:

                                                        ______ Yes         ______ No

                To commit the offense of distributing a misbranded drug:

                                                        ______ Yes         ______ No



        SO SAY WE ALL
                                   Signed:         __________________________
                                                   Foreperson

                                   Dated:          ____________, 2023
